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14 Class Counsel

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16
                                UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18

19 NICHOLAS MALONE, CHRIS AYERS,                      Case No. 5:20-cv-03584-NC
   JAMES BACKUS, BRIAN CONWAY,
20 DAVID EATON, STEVEN GRAVEL,                        STIPULATION AND ORDER
   JAMES RAAYMAKERS, and TOD WEITZEL,                 SHORTENING TIME TO HEAR
21 on behalf of themselves and all others similarly   PLAINTIFFS’ MOTION FOR AN
   situated,                                          AWARD OF ATTORNEYS’ FEES,
22                                                    COSTS, AND EXPENSES, AND
                              Plaintiffs,             INCENTIVE AWARDS (DKT. 65)
23
           v.                                         [Hon. Nathanael Cousins]
24
   WESTERN DIGITAL CORPORATION,
25

26                             Defendant.
27

28

     STIPULATION & ORDER SHORTENING TIME
     CASE NO. 5:20-CV-03584-NC
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 1                                             STIPULATION

 2          WHEREAS, on September 6, 2021, Plaintiffs Nicholas Malone, Chris Ayers, James Backus,

 3 Brian Conway, David Eaton, Steven Gravel, James Raaymakers, And Tod Weitzel (collectively,

 4 “Plaintiffs”) filed their Motion For An Award Of Attorneys’ Fees, Costs And Expenses, And

 5 Incentive Awards (Dkt. 65) (“Motion”), along with two supporting declarations (Dkt. 66, 67), in this

 6 class action alleging false advertising of computer hard drive capabilities;

 7          WHEREAS, on December 22, 2021, this Court held a hearing on the Motion in conjunction

 8 with this Court’s hearing on the Motion For Final Approval Of Class Settlement (see Minute Order,

 9 dated Dec. 22, 2021 (Dkt. 70));
10          WHEREAS, at the hearing, the Court discussed the unusually high number of claims made

11 against the class settlement fund, the Court requested a status update regarding the proof of purchase

12 audit being conducted by the class action administrator, and the Court stated that it would await the

13 status update before issuing a separate order with respect to the Motion, which would also then

14 enable the claimants who submitted valid claims to be paid (see Dkt. 71, ¶¶ 15, 20);

15          WHEREAS, later on the day of December 22, 2021, the Court issued its Final Order

16 Approving Class Action Settlement (Dkt. 71), which stated at Paragraph 16, “The Court will issue a

17 separate Order with respect to Attorneys’ Fees and Expenses and the Incentive Awards to the

18 representative Plaintiffs, entitled Final Order Approving Attorneys’ Fees and Expenses and Incentive

19 Awards.”;
20          WHEREAS, on February 10, 2022, Plaintiffs filed the Status Update Regarding Proof of

21 Purchase Audit (Dkt. 73), in which the Settlement Administrator stated that it had contacted 13,005

22 claimants who submitted claims for 5 or more hard drives, with 38 claimants providing

23 documentation for all hard drives claimed, 46 claimants providing documentation for some of the

24 hard drives claimed, and 348 claimants requesting to amend their claimed number of hard drives to 5

25 or fewer;

26          WHEREAS, the Settlement Administrator is in receipt of the Settlement Funds but cannot

27 pay the Class members until the Court rules on the Motion For An Award Of Attorneys’ Fees, Costs

28 And Expenses, And Incentive Awards;

     STIPULATION & ORDER SHORTENING TIME
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 1          WHEREAS, Class Counsel twice attempted to communicate with the Court by email to

 2 resolve the outstanding Motion but did not receive a response to either inquiry;

 3          WHEREAS, in an attempt to place the Motion back on calendar, Class Counsel filed an

 4 Amended Notice of Motion (Dkt. 74) scheduling the Motion to be heard by this Court on April 20,

 5 2022, in accordance with the 35-day minimum notice requirement stated by Civil L.R. 7-2(a);

 6          WHEREAS, Class Counsel files this Stipulation to request that the Court please shorten time

 7 to hear the Motion because the Class, the named Plaintiffs and Class Counsel cannot be paid until

 8 the Court rules upon the Motion;

 9          WHEREAS, Class Counsel will make themselves available on any day or time convenient to

10 the Court for a hearing of the Motion on shortened time (and Class Counsel has no objection to the

11 Court signing and entering the Proposed Order Approving Award Of Attorneys’ Fees, Costs And

12 Expenses, And Incentive Awards (Dkt. 65-1) without a hearing);

13          WHEREAS, Defendant Western Digital Corporation has no objection to the Motion or to this

14 Stipulation;

15          WHEREAS, pursuant to and in satisfaction of Civil L.R. 6-2, Class Counsel is filing the

16 accompanying Declaration of Daniel M. Hattis;

17          NOW, THEREFORE, Plaintiffs and Defendant Western Digital Corporation STIPULATE

18 and AGREE and RESPECTFULLY REQUEST that the Court advance the hearing date of the

19 Motion For An Award Of Attorneys’ Fees, Costs, And Expenses, And Incentive Awards (Dkt. 65)
20 (“Motion”) to any day and time convenient to the Court (or that the Court sign and enter the

21 Proposed Order Approving Award Of Attorneys’ Fees, Costs And Expenses, And Incentive Awards

22 (Dkt. 65-1) without a hearing).

23

24 Dated: March 18, 2022                         Dated: March 18, 2022

25 BURSOR & FISHER, P.A.                         LEWIS BRISBOIS BISGAARD & SMITH

26 By: /s/ Yitzchack Kopel, Esq.                 By: /s/ Joshua Seth Hodas, Esq.

27 Class Counsel                                 Counsel for Defendant Western Digital Corp

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     STIPULATION & ORDER SHORTENING TIME
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 1 HATTIS & LUKACS

 2 By: /s/ Daniel M. Hattis, Esq.

 3 Class Counsel

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 5                                     ATTORNEY ATTESTATION

 6          Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document hereby attests that

 7 concurrence in the filing of the document has been obtained from each of the other Signatories.

 8

 9                                                /s/ Daniel M. Hattis
                                                  Daniel M. Hattis
10

11

12
                                                   ORDER
13
            For good cause shown, Plaintiffs’ request for an Order shortening time is hereby GRANTED
14
     and the hearing of the Motion For An Award Of Attorneys’ Fees, Costs, And Expenses, And
15
     Incentive Awards (Dkt. 65) is ADVANCED from April 20, 2022, to 1:00 p.m. on March 23, 2022.
16
     A representative with knowledge from JND Legal Administration is required to attend the hearing.
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     Dated: March 20, 2022                                               TED
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                                                  HON. NATHANAEL COUSINS
                                                  U.S. District Court Judge ousins
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     STIPULATION & ORDER SHORTENING TIME
     CASE NO. 5:20-CV-03584-NC
